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                Exhibit B - Party Witness Cover Sheet Page 1 of 2




                                 EXHIBIT B
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                Exhibit B - Party Witness Cover Sheet Page 2 of 2



                                         EXHIBIT B

                                 PARTY WITNESS COVER SHEET

 Name of Party                                 Assured Guaranty Corp. and Assured
                                               Guaranty Municipal Corp.
 Does the Party intend to offer a witness?                          No
 Total Number of Witnesses                                         N/A
 Witness Name                Expert or Fact        Is interpreter      Scope of Testimony
                                     Witness   required? (Proponent
                                                  of witness must
                                                 provide certified
                                                    interpreter)
         N/A                      N/A                   N/A                   N/A
